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                                          Jail Call Transcript
Date & Time:           January 6, 2019 at 9:57 p.m.
Inmate:                Dante Bailey (Northern Neck Regional Jail)
Dialed #:              (770) 595-9760 (Tiffany Bailey)


@ 1:11
D. Bailey:     What’s the nigga’s name on Facebook?
T. Bailey:     Who?
D. Bailey:     The nigga                  .
T. Bailey:     Hold on. [long pause] It’s um, his name.
D. Bailey:     His real name?
T. Bailey:     Yeah.
D. Bailey:     The         [long pause]
T. Bailey:     Didn’t you say he told?
D. Bailey:     Huh?
T. Bailey:     Didn’t you say he told?
D. Bailey:     I can’t hear you.
T. Bailey:     Didn’t you say he told?
D. Bailey:     Huh?
T. Bailey:     Didn’t you say he told on you?
D. Bailey:     Told on who?
T. Bailey:     You.
D. Bailey:     Yeah. I don’t know. I think everybody told. Fuck ya mean? I mean . . . that’s
               what I’m about to find out.
T. Bailey:     Do you think he’s gonna say yeah I did?
D. Bailey:     He can’t have no opportunity because I’m gonna get the paperwork, like, I’m a
               get the paperwork. He can’t say no. I’m just tryin’ to get a fair chance to find out
               what he said to prepare me, to be in a better situation. If he did do it, there’s no
               way possible for him to say that he didn’t. . . . [unintelligible]. The            , his
               name’s in it now. A nigga can’t play those games no more, ‘cause it’s all about to
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             come out. . . . Just like with                  . I told Bino to holler at her, ask her
             what the fuck, what did she say. ‘Cause I just ran across, in the uh, Bangout little
             file that they got, all the way in the back of it, it’s a jump with her name. And
             then there’s a [unintelligible], but it’s all redacted, that mean it’s all black, and it
             won’t reveal it. When it’s all black, that means it won’t get revealed until two
             weeks before trial, and that means they was telling. They said something
             incriminating, like they cooperating.
T. Bailey:   Who, the wife?
D. Bailey:   No,         .
T. Bailey:   Who?
D. Bailey:           !
T. Bailey:   Oh.
D. Bailey:   That’s why she was so adamant about saying you was hot. Cause she did some
             goofy shit. That’s probably when she did it, though!
T. Bailey:   Naw, she did it before that. She did it when they came to her house and picked her
             up.
D. Bailey:   Yeah! When’d they do that, though? I ain’t know they did that.
T. Bailey:   Yes you did. [pause]
D. Bailey:   Yeah.
T. Bailey:   Yeah. [unintelligible]
D. Bailey:   Huh?
T. Bailey:   [unintelligible]
D. Bailey:   Yeah. [pause] I told her, I mean I told Bino, like, ask her like what she said.
             ‘Cause it’s about to come out if she said something. If she did, let me know, so I
             can be prepared. Cause it’s about to come out. There ain’t no more hiding. But
             then they rolled him out, [unintelligible] some motherfucking way.
T. Bailey:   He what?
D. Bailey:   Oklahoma, I don’t know where he going. Matter of fact, look on the jump to see if
             he got wherever he was going.
T. Bailey:   Hold on. Shit.
D. Bailey:   Yeah, see, all the motherfuckers, all the people who said anything, they can’t hide
             no more. And, I even see her name, I know they had to go get her because her
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             name is too frequent. Like, they got a whole list in this file, of all types of people.
             And that’s just [unintelligible].
T. Bailey:   Mm-hmm. [pause] Dontray Johnson?
D. Bailey:   Yeah.
T. Bailey:   He 33?
D. Bailey:   Yeah.
T. Bailey:   Man, he ain’t gonna get out until 11/20/2041. Not in BOP custody.
D. Bailey:   Yeah, it must ain’t update. Cause he in Oklahoma. He just uh, Wednesday. So
             it’ll probably update tomorrow.
T. Bailey:   That’s why she’s so adamant, talking about she’s coming down here to see her
             sister, which is what’s his name’s baby mama, and she wanna see me and
             Almighty. Girl, we not friends.
D. Bailey:   Who?
T. Bailey:   Her.
D. Bailey:   Who’s baby mother?
T. Bailey:   Uh, Bangout’s baby mama. Oh, yeah.
T. Bailey:   Yeah, we not friends. Yeah, alright, yeah, you can see me.
D. Bailey:   Yeah. Slap the shit out her!
T. Bailey:   I ain’t gonna be the one to see her.
D. Bailey:   Yeah, you should smack the shit out her! You should smack her [unintelligible].
T. Bailey:   [unintelligible]
D. Bailey:   I should have let Dinka trash her some more.
T Bailey:    That girl felt like she controlled the world. I don’t know why she thought she was
             the boss. I don’t know who she thought she was. She thought she was a bad one.
